   Case 1:22-cr-00015-APM Document 946-1                     Filed 01/28/25 Page 1 of 2
USCA Case #23-3089    Document #2097029                       Filed: 01/28/2025 Page 1 of 2



                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________
No. 23-3089                                                     September Term, 2024
                                                                        1:22-cr-00015-APM-1
                                                                        1:22-cr-00015-APM-2
                                                                        1:22-cr-00015-APM-3
                                                                        1:22-cr-00015-APM-4
                                                           Filed On: January 28, 2025
United States of America,

                  Appellee

         v.

Kenneth Harrelson,

                  Appellant


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Consolidated with 23-3090, 23-3097,
23-3098, 23-3111, 23-3112, 23-3113,
23-3114


                                             ORDER

      Upon consideration of the government’s motion to voluntarily dismiss its cross-
appeals, it is

      ORDERED that the motion be granted and Nos. 23-3111, 23-3112, 23-3113,
and 23-3114 be dismissed. It is

      FURTHER ORDERED that the consolidation of Nos. 23-3111, 23-3112, 23-
3113, and 23-3114 with No. 23-3089, et al., be terminated. It is

       FURTHER ORDERED, on the court’s own motion, that the following revised
briefing format will now apply in these consolidated cases:

         Defendants’ Joint Opening Brief
         (not to exceed 30,000 words)                         March 11, 2025

         Appendix                                             March 11, 2025
   Case 1:22-cr-00015-APM Document 946-1               Filed 01/28/25 Page 2 of 2
USCA Case #23-3089    Document #2097029                 Filed: 01/28/2025 Page 2 of 2



                United States Court of Appeals
                           FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 23-3089                                               September Term, 2024

      United States’ Brief
      (not to exceed 30,000 words)                      September 11, 2025

      Defendants’ Joint Reply Brief
      (not to exceed 15,000 words)                      December 11, 2025

      The Clerk is directed to issue the mandate forthwith in Nos. 23-3111, 23-3112,
23-3113, and 23-3114.

                                                        FOR THE COURT:
                                                        Clifton B. Cislak, Clerk

                                                BY:     /s/
                                                        Emily Campbell
                                                        Deputy Clerk




                                         Page 2
